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           5
               Attorneys for Defendants, GOLDEN BEAR
           6 RESTAURANT GROUP, INC. dba ARBY’S,
               JOSEPH POLATI, TRUSTEES of the POLATI
           7 FAMILY TRUST DATED JULY 29, 2009;
               TRACI POLATI, TRUSTEE of the POLATI
           8 FAMILY TRUST DATED JULY 29, 2009
           9
          10                                     UNITED STATES DISTRICT COURT
          11                      EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
          12
          13 DIMAS O’CAMPO,                                       CASE NO. 2:15-cv-01849-TLN-CMK
          14                       Plaintiff,                     REQUEST FOR CONTINUANCE FOR
                                                                  DISPOSITIVE MOTION HEARING
          15             vs.
                                                                  The Hon. Troy L. Nunley
          16 GOLDEN BEAR RESTAURANT GROUP,
               INC. dba ARBY’S; JOSEPH POLATI,                    Trial Date:      March 12, 2018
          17 TRUSTESS of the POLATI FAMILY TRUST
               DATED JULY 29, 2009; TRACI POLATI,
          18 TRUSTEE of the POLATI FAMILY TRUST
               DATED JULY 29, 2009,
          19
                                   Defendants.
          20
          21
          22
          23
          24            TO: The Honorable Court,
          25            Defendants, Golden Bear Restaurant Group, Inc. dba Arby’s, Joseph Polati, Trustees of the
          26 Polati Family Trust dated July 29, 2009, Traci Polati, Trustee of the Polati Family Trust Dated
          27 July 29, 2009, and Plaintiff, Dimas O’Campo (collectively “the Parties”), by and through their
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S
BRISBOI        4851-6010-9391.1                                 1
S                                    REQUEST FOR CONTINUANCE FOR DISPOSITIVE MOTION HEARING
BISGAAR
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               Case 2:15-cv-01849-TLN-CMK Document 16 Filed 09/20/17 Page 2 of 3



           1 respective attorneys of record, hereby stipulate as follows:
           2            WHEREAS, the Pretrial Scheduling Order issued on February 1, 2016, indicates that “All

           3 dispositive motions . . . shall be heard no later than October 5, 2017. See Docket No. 10.
           4            WHEREAS, due to a family medical emergency of Defense counsel, the Parties met and

           5 conferred, and mutually agreed, to continue the deadline to hear dispositive motions at least thirty
           6 (30) days. Given that the Court only hears civil law and motion on a limited number of days each
           7 month, the Parties mutually agreed to continue the date to November 16, 2017.
           8            NOW THEREFORE, the Parties hereby stipulate and hereby request that the Court’s

           9 Pretrial Scheduling Order (Docket No. 10) be modified to extend the deadline to hear dispositive
          10 motions from October 5, 2017 to November 16, 2017.
          11
          12            IT IS SO STIPULATED.

          13
               DATED: September 14, 2017                LEWIS BRISBOIS BISGAARD & SMITH              LLP
          14
          15
                                                        By:    /s/ Shane Singh, Esq.
          16                                                  Shane Singh, Esq.
                                                              Attorneys for Defendants, GOLDEN BEAR
          17                                                  RESTAURANT GROUP, INC. dba ARBY’S,
                                                              JOSEPH POLATI, TRUSTEES of the POLATI
          18                                                  FAMILY TRUST DATED JULY 29, 2009;
          19                                                  TRACI POLATI, TRUSTEE of the POLATI
                                                              FAMILY TRUST DATED JULY 29, 2009
          20
          21
               DATED: September 14, 2017                DISABLED ADVOCACY GROUP, APLC
          22
          23                                            By: /s/ Scottlyn J. Hubbard IV, Esq.
          24                                                Scottlyn J. Hubbard IV
                                                            Stephanie Ross
          25                                                Attorneys for Plaintiff, DIMAS O’CAMPO

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S                                 REQUEST FOR CONTINUANCE FOR DISPOSITIVE MOTION HEARING
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                                                Signature Certification
           1
           2            I hereby certify that the content of this document is acceptable to Scottlyn J.
           3 Hubbard, counsel for Plaintiff, Dimas O’Campo, and that I have obtained Mr.
           4 Hubbard’s authorization to affix his electronic signature to this document.
           5
           6 DATED: September 14, 2017                LEWIS BRISBOIS BISGAARD & SMITH                LLP

           7
           8
                                                      By: /s/ Shane Singh
           9                                              Shane Singh
          10                                              Attorneys for Defendants, GOLDEN
                                                          BEAR RESTAURANT GROUP, INC. dba
          11                                              ARBY’S, JOSEPH POLATI, TRUSTEES
          12                                              of the POLATI FAMILY TRUST DATED
                                                          JULY 29, 2009; TRACI POLATI,
          13                                              TRUSTEE of the POLATI FAMILY
          14                                              TRUST DATED JULY 29, 2009

          15
          16
                        IT IS SO ORDERED.
          17
          18
          19 Dated: September 20, 2017
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          21                                               Troy L. Nunley
          22                                               United States District Judge

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BRISBOI        4851-6010-9391.1                              3
S                                 REQUEST FOR CONTINUANCE FOR DISPOSITIVE MOTION HEARING
BISGAAR
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